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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

NISSA AVILA,

               Plaintiff,

       v.                                            CASE NO.: 8:10-cv-02282-JDW-EAJ


ALLIANCE ONE RECEIVABLES
MANAGEMENT,

            Defendant.
____________________________________/

               Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff, NISSA AVILA and Defendant,

ALLIANCE ONE RECEIVABLES MANAGEMENT, hereby stipulate that the entire action be

dismissed, with prejudice, with each side to bear their own attorney’s fees and costs.



  DATED: September 26, 2011                   KROHN & MOSS, LTD.

                                      By: /s/ Shireen Hormozdi_________
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 DATED: September 26, 2011         GOLDEN & SCAZ, PLLC

                             By: /s/ _Charles J. McHale____________________
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